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m BY __________ D.C_

UNITED STATES DISTRICT COURT 05 AUG l l
WESTERN DISTRICT OF TENNESSEE PH h 25

Western Division nw w

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UNITED STATES OF AMERICA

-vs- Case No. 1:01cr20085-009D
RAYMOND KEITH McKEE

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Governrnent, it is ORDERED that a preliminary/detention hearing is
set for FRIDAY, AUGUST 12, 2005 at 2:30 P.M. before United States Magistrate Judge Tu M.
Pham in Courtroom No. 6, Third Floor, United States Courthouse and Federal Building, 167
North Main, Mempl'u`s, TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced for the hearing.

Date: August 10, 2005 g ,---
/h

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

lIf not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A heating is required whenever the conditions set forth in 18 U.S.C. § 3142(i`) are present. Subsection (I) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the j udicial officer's own motion, if there is a serious risk that the

defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or j uror.

AO 470 (8185) Order of ?ernporary Detention /`\

Thls document entered on the docket sheet in continuance 4€;1
with nule es and/or 32(b) Fnch on X' [Q 'CU L/

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 405 in
case 2:0]-CR-20085 Was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listed.

 

 

Thornas A. Colthurst

U.S. ATTORNEY'S OFFICE
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Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

